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 4   Attorney for Defendant
     JEREMY TERRELL
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 7
                          UNITED STATES DISTRICT COURT
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9

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11   UNITED STATES OF AMERICA,               No. CR: 10-CR-00477-LKK-4

12              Plaintiff,
                                             STIPULATION AND ORDER RE:
13                                           MODIFICATION OF
          v.                                 TERMS OF PRETRIAL RELEASE
14

15   JEREMY TERRELL,

16              Defendant.

17                                /

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          IT IS HEREBY STIPULATED between Plaintiff, United States,
19
     through their attorney of record, Assistant United States
20
     Attorney Michael D. Anderson and Defendant, Jeremy Terrell,
21
     through his attorney, Danny B. Schultz, with the approval of
22
     United States Pretrial Officer Renee Basurto, that Special
23
     Condition of Release #16, be removed in its entirety.            Special
24
     Condition of Release #16 states:
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          You shall participate in the following home confinement
26        program components and abide by all the requirements of
          the program which will include electronic monitoring.
27
          HOME DETENTION: You are restricted to your residence
28        at all times except for employment; education;

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 1        religious services; medical, substance abuse, or
          mental health treatment; attorney visits; court
 2        appearances; court-ordered obligations; or other
          activities pre-approved by the pretrial services
 3        officer.

 4        You shall, in accordance with this release order,
          have a home monitoring unit installed in your
 5        residence, a radio frequency device attached to your
          person, and shall comply with all instructions for the
 6        use and operation of said devices as given to you by
          the Pretrial Services Agency and employees of the
 7        monitoring company.

 8

 9   Respectfully Submitted,

10

11   /S/MICHAEL ANDERSON                     /S/DANNY B. SCHULTZ
     MICHAEL ANDERSON                        DANNY B. SCHULTZ
12   Assistant U.S. Attorney                 Attorney for Defendant
                                             JEREMY TERRELL
13   Dated: May 25, 2012                     Dated: May 25, 2012

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          IT IS SO ORDERED.
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          Dated: May 29, 2012.
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